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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK

_______________________________________________
FIVE STAR BANK,
                                                            CASE NO. 6:24-CV-06153-FPG
                              Plaintiff,
                                                            NOTICE OF MOTION FOR
                                                            APPROVAL OF SECOND
                                                            APPLICATION OF
KATHERINE MOTT; ROBERT HARRIS; KRM                          RECEIVER, MARK R.
EVENTS, LLC; KATHERINE’S ON MONROE, LLC;                    KERCHER, FOR ALLOWANCE
THE DIVINITY ESTATE AND CHAPEL, LLC; KNC                    OF COMPENSATION AND
ELEGANCE, LLC D/B/A THE WINTERGARDEN BY                     REIMBURSEMENT OF
MONROES; 11 WEXFORD GLEN, LLC; RCC                          EXPENSES
MONROES LLC; NAF REMODELING LLC;
MONROES AT RIDGEMONT LLC CRESCENT
BEACH AT THE LAKE LLC; MOTT MANAGEMENT
LLC; KRISTINA BOURNE; TAYLOR PAGANO;
TIMOTHY LAROCCA,
                        Defendants.
_______________________________________________

       PLEASE TAKE NOTICE that, pursuant to this Court’s Order Appointing Receiver Over

Defendant Entities (ECF Dkt. No. 39) entered by this Court on April 8, 2024, Court-appointed

Receiver Mark R. Kercher (the “Receiver”), by and through Harter Secrest & Emery LLP, hereby

moves this Court for an Order approving his Second Application for Allowance of Compensation

and Reimbursement of Expenses, covering the period from May 1, 2024 to May 31, 2024.

       In light of the circumstances set forth in the accompanying application, the Receiver

respectfully requests that the Court’s consideration and determination of this request be performed

as expeditiously as possible and without the need for formal motion practice. But should motion

practice or an appearance or argument be required, the Receiver will make himself available at the

Court’s convenience at a return date set by the Court.

       In support of this motion, the Receiver submits his own application, dated July 1, 2024,

annexed hereto.
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Dated: July 2, 2024
                                              Respectfully submitted,

                                              HARTER SECREST & EMERY LLP

                                              By:



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